    Case 2:10-cv-01160-CW Document 2 Filed 11/24/10 PageID.1 Page 1 of 4




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                       IN TIIE T'NITED STAfiS I'ISTRICT COIJRT

                           DISTRICT OF UTAH, CENTRAL DIVISION


ROBIN ALLRED,                                                 COMPLAINT

                   Plaintiff,


                                                              Case no: 2:10-cv-01160-CW
STANDLEY & ASSOCIATES, LLC,

                  Defendant.                                  JURY TRIAL DEMANDEI)



                                       I. INTRODUCTION
       l.      This is an action for damages brought by an itrdividual consumer for Defendant's

violations ofthe federal Fair Debt Collection Practices Act, 15 U.S.C. $ 1692, et seq. (hereinafrer

"FDCPA').

                                       tr.   JTJRISDICTION

       2.      PlaimifPs claim for violatiotrs ofihe FDCPA aris€s und€r 15 U.S.C. S 1692k(d),

and therefore involves a   {ederal question" pursuant to 28 USC $ 1331.

                                             III.   PARTIES

       3.      Plaintifi, Robin AUr€d C'Platutitr), is a natural pqlon residing in salt Iake
    Case 2:10-cv-01160-CW Document 2 Filed 11/24/10 PageID.2 Page 2 of 4




County, Utah.

       4.       Defenda , Standley & Associates, LLC, ('Defendant") is           a corporation engaged

in the business of collecting debts by use of the mails and telephone. Defendant regularly

attempts to collect debts alleged due another.

                                    IV. FACTUAL ALLEGATIONS
       5.       Defendant is a "debt collector" as defined by the FDCPA, 15 U.S.C. $ 1692a(6).

       6.       Plaintifis a'tonsumet''       as defined by rhe   FDCPA, l5 U.S.C. $ 1692a(3).

       ?.       All acdvities of Defendant      set out herein were undertaken in comection      wilh the

collection ofa "debt," as defined by l5 USC $ 1692a(5).

       8,       Within the last year, Defenda took multiple actions in an attempt to collect a

debt fiom Plaintiff. Defendant's conduct violated the FDCPA in multiple ways, including the

following.

       9.       Failing to notiry Plaintiff dudng each collection contact that the communication

was from a debt colleclor ($ 1692e(l   l))l

       10.      Threatenirg to take an action against Plaintiff that carmot be legally taken or that

was not actually intended to be taken, including tbreatening to take legal action against Plaintiff

beginning in mid-August, 20 I 0, and later threatening to take legal action againsr Plaintiff      if   she

did not contact Defendant by 6:00 pm on September 23,2010. These thrcats were all false, as

Defendant had no imrninent intent to file suit on those dates at the time the theats were made ($

t692e(s)).

       1   l.   As a rcsult of the aforementioned violations, Plaintiff suffered and continues to

suffer injuries to Plaintiffs feelings, personal humiliation, embamssment, mental anguish and
    Case 2:10-cv-01160-CW Document 2 Filed 11/24/10 PageID.3 Page 3 of 4




severe emotional distress.

        12.    Defendant intended to cause, by means of the actions detailed above, injuries to

Plainti{fs feelings, personal humiliation, €mbarrassment, mental anguish and severe emotional

dishess.

       13,     Defendant's actions, detailed above, were undertaken           with    extraordinary

disregard of, or indifference to, known or higNy probable risks to purported debtors.

       14.     To the extent Defendant's actions, detailed in paragraphs 8-10, werc caried out

by an employee of Defendant, that employee was acting within the scope of his or               her

employment.

       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       15.     Plaintiffreincorporates by reference all ofthe preceding paragraphs.

       16.     The preceding paragraphs stde a prima facie case for Plaintiff and againsl

Defendant for violations ofthe FDCPA, $S 1692e(ll\     &   1692e(5).

                                   PRAYER FOR Rf,LIEF

       WHEREFORE, Plaintiff respectfully p.ays that judgment be entered against the

Defendant for the following:

       A.      Decla&tory judgment that Defendant's conduct violated the FDCPA;

       B.     Actual damages pursuant to 15 USC 1692k;

       C.      Statutory damages pursuant to l5 U.S.C. $ 1692k;

       D.     Costs, disbursements and reasonable attomey's fees for    all successful claims, and

any unsuccessful claims arising out of the same transaction or occrurence as the successful

claims, pu$uant to 15 U.S.C. $ 1692k; and,
   Case 2:10-cv-01160-CW Document 2 Filed 11/24/10 PageID.4 Page 4 of 4




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